Nebraska Supreme Court Online Library
www.nebraska.gov/apps-courts-epub/
05/15/2020 12:07 AM CDT




                                                        - 615 -
                               Nebraska Supreme Court Advance Sheets
                                        305 Nebraska Reports
                                                  JONES v. JONES
                                                 Cite as 305 Neb. 615



                                        Mary A. Jones, appellant, v.
                                         Curtis L. Jones, appellee.
                                                   ___ N.W.2d ___

                                         Filed April 23, 2020.    No. S-18-093.

                 1. Modification of Decree: Appeal and Error. Modification of a dis-
                    solution decree is a matter entrusted to the discretion of the trial court,
                    whose order is reviewed de novo on the record, and will be affirmed
                    absent an abuse of discretion by the trial court.
                 2. Judges: Words and Phrases. A judicial abuse of discretion exists if the
                    reasons or rulings of a trial judge are clearly untenable, unfairly depriv-
                    ing a litigant of a substantial right and denying just results in matters
                    submitted for disposition.
                 3. Modification of Decree: Child Custody: Proof. Ordinarily, custody
                    of a minor child will not be modified unless there has been a material
                    change in circumstances showing either that the custodial parent is unfit
                    or that the best interests of the child require such action.
                 4. ____: ____: ____. The showing required to modify custody is a two-
                    step process: First, the party seeking modification must show a material
                    change in circumstances, occurring after the entry of the previous cus-
                    tody order and affecting the best interests of the child. Next, the party
                    seeking modification must prove that changing the child’s custody is in
                    the child’s best interests.
                 5. Modification of Decree: Words and Phrases. A material change in
                    circumstances is the occurrence of something which, had it been known
                    to the dissolution court at the time of the initial decree, would have per-
                    suaded the court to decree differently.
                 6. Modification of Decree: Child Custody. If a change in custody is to be
                    made, it should appear to the court that the material change in circum-
                    stances is more or less permanent or continuous and not merely transi-
                    tory or temporary.
                 7. Modification of Decree: Child Custody: Evidence: Appeal and
                    Error. Even when a finding of a material change in circumstances is
                                      - 616 -
             Nebraska Supreme Court Advance Sheets
                      305 Nebraska Reports
                                JONES v. JONES
                               Cite as 305 Neb. 615
      not expressly made by the trial court, an appellate court, in its de novo
      review, may make such a finding if the evidence supports it.
 8.   Modification of Decree: Child Custody: Evidence: Time. As a general
      rule, when determining whether the custody of a minor child should
      be changed, the evidence of the custodial parent’s behavior during the
      year or so before the hearing on the complaint to modify is considered
      most significant.
 9.   Child Custody. When determining the best interests of the child in the
      context of custody, a court must consider, at a minimum, (1) the rela-
      tionship of the minor child to each parent prior to the commencement
      of the action; (2) the desires and wishes of a sufficiently mature child,
      if based on sound reasoning; (3) the general health, welfare, and social
      behavior of the child; (4) credible evidence of abuse inflicted on any
      family or household member; and (5) credible evidence of child abuse
      or neglect or domestic intimate partner abuse. Other relevant consider-
      ations include stability in the child’s routine, minimalization of contact
      and conflict between the parents, and the general nature and health of
      the individual child. No single factor is determinative, and different fac-
      tors may weigh more heavily in the court’s analysis, depending on the
      evidence presented in each case.
10.   Child Support. All orders concerning child support, including modifi-
      cations, should include the appropriate child support worksheets.
11.   ____. Attaching a child support worksheet to the child support order
      allows the trial court to show the parties, and the appellate courts, that it
      has “done the math” required by the child support guidelines.
12.   ____. The purpose of setting nominal support is to maintain information
      on the obligor in the child support system and, hopefully, encourage
      such person to understand the necessity, duty, and importance of sup-
      porting his or her children.
13.   Child Support: Rules of the Supreme Court. The absence of a child
      support worksheet requires the parties and appellate courts to speculate
      about the trial court’s conclusions and calculations in awarding support;
      therefore, even in very low income cases, courts awarding nominal sup-
      port under Neb. Ct. R. § 4-209 (rev. 2020) should attach a child support
      worksheet, and the reason for any deviation from the minimum support
      amounts required by § 4-209 should be contained either in the court’s
      decree or order or on worksheet 5.

  Petition for further review from the Court of Appeals,
Moore, Chief Judge, and Riedmann and Welch, Judges, on
appeal thereto from the District Court for Lancaster County,
                                  - 617 -
            Nebraska Supreme Court Advance Sheets
                     305 Nebraska Reports
                             JONES v. JONES
                            Cite as 305 Neb. 615
Andrew R. Jacobsen, Judge. Judgment of Court of Appeals
affirmed in part, and in part reversed and remanded with
directions.
  David V. Chipman, of Monzón, Guerra &amp; Associates, for
appellant.
   Mark J. Krieger and Terri M. Weeks, of Bowman &amp; Krieger,
for appellee.
  Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
Papik, and Freudenberg, JJ.
   Stacy, J.
   In this appeal from an order modifying custody, the primary
question is whether there was sufficient evidence of a mate-
rial change in circumstances affecting the best interests of the
minor child. The Nebraska Court of Appeals found sufficient
evidence to support modifying legal custody, but not physical
custody. 1 It also found the evidence did not support the need
for a safety plan addressing parental substance use. On further
review, we reverse only that portion of the Court of Appeals’
opinion pertaining to the modification of physical custody. In
all other respects, we affirm.
                       I. BACKGROUND
   Mary A. Jones and Curtis L. Jones were married in 2003
and had one son, Kasey Jones, born in December 2004. Mary
filed for divorce in 2005. The parties eventually entered into
a property settlement and custody agreement that resolved
all disputes. At the final hearing in 2006, the court approved
the parties’ property settlement and custody agreement in its
entirety and entered a consent decree that awarded Mary legal
and physical custody of Kasey, subject to Curtis’ reasonable
parenting time. The parties did not agree to a set parenting time
1
    Jones v. Jones, No. A-18-093, 2019 WL 446636 (Neb. App. Feb. 5, 2019)
    (selected for posting to court website).
                              - 618 -
         Nebraska Supreme Court Advance Sheets
                  305 Nebraska Reports
                         JONES v. JONES
                        Cite as 305 Neb. 615
schedule, and the original decree did not establish one. Curtis
was ordered to pay monthly child support of $550.
                 1. Stipulated Modification
                           of Custody
   In 2011, Curtis filed a complaint to modify custody. He
alleged there had been a material change in circumstances,
in that Mary was no longer able to provide a stable and con-
sistent environment for Kasey and the lifestyle in her home
was no longer in Kasey’s best interests. Eventually, Mary
and Curtis entered into a written stipulation agreeing there
had been “a material change in circumstances necessitating
a change in the custody and support obligations” without
elaborating on the nature of the changed circumstances. In
November 2011, the court approved the parties’ stipulation
and entered a modified decree awarding them joint legal and
physical custody pursuant to a week-on-week-off parent-
ing schedule. Curtis’ monthly child support obligation was
reduced to $500. One year later, pursuant to another joint
stipulation of the parties, Curtis’ child support obligation was
reduced to $257.
                 2. 2016 Complaint to Modify
   Curtis filed the instant complaint to modify in April 2016,
alleging there had been a material change in circumstances
warranting a change in the joint custody arrangement. His
complaint generally alleged that residing with Mary 50 percent
of the time was no longer in Kasey’s best interests because,
since the last modification, Mary had failed to provide a
stable and structured home for Kasey or properly care for his
mental, physical, and educational well-being. Mary’s answer
denied these allegations and included a counterclaim seeking to
increase Curtis’ monthly child support payments.
                          3. Trial
   In August 2017, the court held a 2-day trial on Curtis’ com-
plaint to modify custody and Mary’s counterclaim to increase
                              - 619 -
         Nebraska Supreme Court Advance Sheets
                  305 Nebraska Reports
                         JONES v. JONES
                        Cite as 305 Neb. 615
child support. As pertinent to the issues before this court on
further review, the following evidence was adduced.
                     (a) Parties’ Employment
   When the parties divorced in 2006, Mary was working at
a law firm. She resigned that position in 2007 to return to
school, and in 2011, she earned a degree in paralegal studies. In
November 2011, when the stipulated order modifying custody
was entered, Mary was working part time as a paralegal and
office manager. In 2012, she began working as a paralegal for
a different attorney, earning $18 an hour, and it was during that
period that the parties stipulated to a reduction in Curtis’ child
support obligation. Mary continued working in that position
until 2014, when the attorney was suspended.
   For the next 3 years, Mary was basically unemployed, and
the testimony at trial provided no clear explanation for why
she was unable to obtain employment. In the months leading
up to trial, Mary applied for approximately 25 different jobs,
and in May 2017, she began working 10 hours per week as a
caregiver, earning $9 per hour. Two weeks before trial, Mary
started a second temporary job, working part time for an attor-
ney, entering client data into a legal software program.
   Curtis has worked as a drywaller for the past 25 years. He
currently owns his own drywall business and has a steady
income. Curtis remarried in 2014, and his current wife has
worked for the same employer for the past 23 years. Curtis has
a flexible work schedule that allows him to take time off work
when necessary.
                  (b) Parties’ Substance Use
   Both Mary and Curtis have a history of substance use.
Mary denied any current substance use, but she admitted using
controlled substances in the past. Mary testified that in 2011,
she was being routinely drug tested and someone from the
Nebraska Department of Health and Human Services lived in
her home “[t]wenty-four hours a day for one year” to make
sure she “stayed on the straight and narrow.” It was during
                              - 620 -
         Nebraska Supreme Court Advance Sheets
                  305 Nebraska Reports
                         JONES v. JONES
                        Cite as 305 Neb. 615
this time period that the parties agreed to change Mary’s pri-
mary physical custody of Kasey, and move to a joint legal and
physical custody arrangement with week-on-week-off parent-
ing time.
   Curtis also admitted to abusing alcohol and using con-
trolled substances during the parties’ marriage. He testified
that he stopped consuming alcohol when Kasey was about
2 years old and stopped using controlled substances shortly
thereafter.
   At trial, there was no evidence that either party is currently
abusing alcohol or controlled substances. Both parties submit-
ted to court-ordered testing for illicit drugs and alcohol, and
the tests were negative.
                       (c) Mary’s Health
   Mary testified that she has been diagnosed with “ADD/
ADHD,” bipolar disorder, and Lyme disease. She also suf-
fers from chronic back pain. In addition to taking prescribed
medication for these conditions, Mary is prescribed an antide-
pressant and regularly treats with a mental health practitioner.
There was no evidence that any of Mary’s health issues have
directly impacted her ability to parent, nor did Mary testify that
her health issues have interfered with her ability to obtain or
keep stable employment.
                      (d) Parties’ Housing
   At the time of the stipulated modification in 2011, Mary
lived in her own residence. At some point, her boyfriend
moved in and helped pay the rent, but Mary admitted that he
was not a good influence on Kasey. Her boyfriend used mari-
juana and was verbally, mentally, and physically abusive to
Mary. Following an assault in 2014, Mary obtained a domes-
tic abuse protection order against her boyfriend and he was
removed from the residence.
   In 2015, Mary was evicted from her residence. She lived
with friends for a month or two after the eviction, then moved
in with her adult daughter and lived there for another couple of
                              - 621 -
         Nebraska Supreme Court Advance Sheets
                  305 Nebraska Reports
                         JONES v. JONES
                        Cite as 305 Neb. 615
months. Mary then moved again, living in a friend’s basement
for about a month.
   In the fall of 2015, Mary moved in with her adult son, Kash
Wolff (Kash). She testified that because she had lost her job
and lost her car, she “needed to rely on him for a while.” Kash
had a job and usually paid their rent and all of their monthly
household expenses. Mary admitted that Kash had anger con-
trol issues and caused physical damage to their residence and
to property within the residence, but Mary fixed what she could
and did not believe Kasey noticed the damage. Mary described
Kash as an alcoholic, admitted he used drugs, and testified that
he frequently allowed his friends to live with them for weeks
at a time. Mary admitted that some of Kash’s friends were not
a good influence on Kasey and that she asked them to leave,
but she testified that it was “hard” since Kash was “trying to
be nice and give them a place to stay.”
   Mary described one time when she discovered Kash’s friend
was storing stolen property, including a shotgun, in their
garage. She called the police and reported the stolen property,
and shortly thereafter, a bullet was shot into their residence
and lodged in Mary’s headboard. Initially, Mary testified that
Kash’s friend “shot at me because I turned him in,” but later,
she testified that “[i]t could have been somebody shooting a
BB — or a gun back there at animals.”
   Mary lived with Kash for nearly 2 years, but about 2
months before the modification trial, they were evicted for
nonpayment of rent. At the time of trial, Mary had moved back
in with her adult daughter and her daughter’s boyfriend and
minor child. Mary described her daughter’s home as a stable
and structured environment, but admitted the living arrange-
ment was temporary. It is undisputed that during Mary’s par-
enting time, Kasey lived wherever, and with whomever, Mary
was living.
   At the time of the custody modification in 2011, Curtis was
still living in the same residence where he and Mary had lived
during their marriage. In 2014, Curtis remarried and built a
                              - 622 -
         Nebraska Supreme Court Advance Sheets
                  305 Nebraska Reports
                         JONES v. JONES
                        Cite as 305 Neb. 615
new home, where he currently lives with his wife, her two
daughters, and Kasey.
                      (e) Child’s Testimony
   Kasey was 12 years old at the time of trial. He testified in
chambers with his parents’ counsel present. The district court
assured Kasey that his testimony would not be shared with his
parents, and the parents’ attorneys were similarly admonished.
We have considered Kasey’s testimony as part of our de novo
review, but we will not summarize it here other than to say it
is clear that he loves both his parents and wants to spend time
with both of them.
                (f) Child’s Health and Welfare
   The evidence at trial was undisputed that Kasey is a healthy,
well-adjusted teenager who is involved in appropriate activi-
ties, has meaningful friendships, and is doing well academi-
cally. He spends quality time with both his parents and has a
strong and loving relationship with both. He also has a positive
relationship with Curtis’ new wife and her two daughters and
with Mary’s adult daughter and that daughter’s child.
                  (g) Parental Communication
   The evidence at trial showed that since their divorce, Mary
and Curtis have generally been cordial with one another and
able to communicate effectively about most parenting issues.
Curtis testified they struggle with some joint decisions, and
he recounted a time when Mary needed money and demanded
that Curtis pay her nearly $1,000 before she would agree to
have Kasey attend a different elementary school. Curtis also
testified that he and Mary had difficulty agreeing on holiday
parenting time, because it was not addressed in the 2011 par-
enting plan.
                      (h) Requested Relief
   Curtis asked the court to award him primary legal and physi-
cal custody of Kasey, subject to Mary’s parenting time on a
“10/4” schedule during the school year and a week-on-week-off
                              - 623 -
         Nebraska Supreme Court Advance Sheets
                  305 Nebraska Reports
                         JONES v. JONES
                        Cite as 305 Neb. 615
schedule during the summer. Curtis believed Mary’s housing
situation had become chronically unstable and unsafe, and he
felt it would be best if Kasey spent fewer overnights in that
environment during the school year. Curtis asked that he be
ordered to pay all of Kasey’s expenses and that Mary not be
required to pay any child support. Finally, Curtis asked that his
existing child support obligation be terminated prospectively,
but not retroactively.
   Curtis submitted a proposed parenting plan reflecting this
requested relief. His parenting plan also included a safety plan
that prohibited Mary from consuming alcohol or narcotics dur-
ing her parenting time, except as prescribed by a physician.
The safety plan also provided that if Curtis believed Mary was
under the influence of alcohol or drugs during her parenting
time, he could “suspend or terminate” her parenting time until
her sobriety could be confirmed.
   Mary asked the court to continue the joint custody arrange-
ment and the equal parenting time schedule. She also asked
that Curtis’ child support obligation be increased to $1,437 per
month, based on his increased earnings since the last child sup-
port modification.
                 4. District Court Order
                     (a) Factual Findings
   The district court made express factual findings about
changes in Mary’s housing, employment, and finances since
the custody modification in 2011. We summarize those find-
ings below.
                          (i) Housing
   The court found that since 2011, Mary had experienced dif-
ficulty maintaining a stable residence in which to raise Kasey.
It found she had moved five times, been evicted multiple
times, and was generally dependent on others to pay her rent
and living expenses. She had lived with 13 different people
since 2011, some of whom were physically violent and many
of whom were not a good influence on Kasey. The court was
                              - 624 -
         Nebraska Supreme Court Advance Sheets
                  305 Nebraska Reports
                         JONES v. JONES
                        Cite as 305 Neb. 615
particularly troubled with the environment in which Mary
lived for most of the 2-year period leading up to the modifica-
tion trial:
      It is clear to the Court that [Mary] recognized that while
      living with Kash, having his friends stay for a week or
      two at a time in and out of the house was not a good sit­
      uation for [K]asey, but because she had no other place to
      go, no employment, no other source of income, she was
      reliant on her 24-year-old son to provide her and [K]asey
      a roof over their head. Her objections to the people liv-
      ing there apparently were unsuccessful as the parade
      of people continued until they were eventually evicted.
      During this period of time, [Mary] testified that Kash
      was making bad decisions, was an alcoholic, was hanging
      out with bad people, making poor choices of friends and
      these were the very people that were residing with her
      and [K]asey . . . .
                       (ii) Employment
   The court found that after the modification in 2011, Mary
had difficulty maintaining stable employment. She had seven
different employers during that time period, and for several
of those years—from the summer of 2014 through May 30,
2017—she was almost continuously unemployed.
                         (iii) Finances
   The court found that since 2011, Mary had incurred sig-
nificant debt and had been sued multiple times by collection
agencies, landlords, and businesses. It also found that because
of her financial struggles, she had “left the financial care of
the minor child to [Curtis] since the entry of the modification
in November of 2011.” The court found that a partial itemiza-
tion of such expenses totaled more than $5,000, but that Curtis
“ha[d] taken no action against [Mary] in an attempt to get her
to pay her share of those expenses because he recognize[d] the
precarious financial position that [she] has been in for the last
several years.”
                              - 625 -
         Nebraska Supreme Court Advance Sheets
                  305 Nebraska Reports
                         JONES v. JONES
                        Cite as 305 Neb. 615
                     (b) Modification Order
   The court modified the parties’ joint physical custody and
gave Curtis physical custody, subject to Mary’s parenting
time on a 10/4 schedule during the school year and a week-
on-week-off schedule during summer break. The court also
established a specific holiday parenting time schedule. The
court found it was unnecessary to modify the parties’ joint
legal custody, but it did give Curtis final say in the event the
parties reached an impasse and were unable to make a joint
decision. Finally, the court terminated Curtis’ child support
obligation and ordered Mary to pay nominal child support of
$10 per month.
   The court attached, and incorporated into its modification
order, the proposed parenting plan submitted by Curtis. It
expressly found the modified parenting plan was in Kasey’s
best interests except for the proposed changes to legal cus-
tody. The modification order, which was prepared by counsel,
did not include an express finding that a material change
in circumstances justified modification of Kasey’s physi-
cal custody.
                      5. Court of Appeals
   Mary appealed. As relevant to the issues on further review,
she assigned it was error for the district court to (1) modify
physical custody, (2) modify joint legal custody by giving
Curtis final say in the event of an impasse, (3) include a safety
plan in the modified parenting plan, and (4) deny Mary’s coun-
terclaim seeking an increase in child support.
   In its de novo review, the Court of Appeals examined the
record for evidence of a material change in circumstances
affecting the best interests of the child since the 2011 cus-
tody modification. It found insufficient evidence to warrant
modifying physical custody, but sufficient evidence to modify
legal custody.
   The Court of Appeals thus reversed the district court’s order
to the extent it modified Kasey’s physical custody, affirmed
the order to the extent it modified joint legal custody to give
                                   - 626 -
            Nebraska Supreme Court Advance Sheets
                     305 Nebraska Reports
                              JONES v. JONES
                             Cite as 305 Neb. 615
Curtis final decisionmaking authority, eliminated the safety
plan, and remanded the cause for further consideration of
Mary’s counterclaim seeking to increase Curtis’ child sup-
port obligation.
   We granted Curtis’ petition for further review.
               II. ASSIGNMENT OF ERROR
   On further review, Curtis assigns only that the Court of
Appeals erred in finding there was insufficient evidence of a
material change in circumstances to support modifying physi-
cal custody.
                 III. STANDARD OF REVIEW
   [1] Modification of a dissolution decree is a matter entrusted
to the discretion of the trial court, whose order is reviewed de
novo on the record, and will be affirmed absent an abuse of
discretion by the trial court. 2
   [2] A judicial abuse of discretion exists if the reasons or
rulings of a trial judge are clearly untenable, unfairly depriv-
ing a litigant of a substantial right and denying just results in
matters submitted for disposition. 3
                         IV. ANALYSIS
                   1. Custody Modification
   [3,4] Ordinarily, custody of a minor child will not be modi-
fied unless there has been a material change in circumstances
showing either that the custodial parent is unfit or that the best
interests of the child require such action. 4 We have described
this showing as a two-step process: First, the party seeking
modification must show a material change in circumstances,
occurring after the entry of the previous custody order and
2
    VanSkiver v. VanSkiver, 303 Neb. 664, 930 N.W.2d 569 (2019).
3
    State on behalf of Kaaden S. v. Jeffery T., 303 Neb. 933, 932 N.W.2d 692    (2019).
4
    Whilde v. Whilde, 298 Neb. 473, 904 N.W.2d 695 (2017); Hopkins v.
    Hopkins, 294 Neb. 417, 883 N.W.2d 363 (2016).
                                     - 627 -
             Nebraska Supreme Court Advance Sheets
                      305 Nebraska Reports
                               JONES v. JONES
                              Cite as 305 Neb. 615
affecting the best interests of the child. 5 Next, the party seek-
ing modification must prove that changing the child’s custody
is in the child’s best interests. 6
   Here, neither parent claimed the other was unfit.
Consequently, we focus our review on whether Curtis has
shown a material change in circumstances occurring after the
2011 modification and affecting Kasey’s best interests, and
whether Curtis proved that changing the custody arrangement
was in Kasey’s best interests.

             (a) Material Change in Circumstances
   [5,6] We have long described a material change in circum-
stances as the occurrence of something which, had it been
known to the dissolution court at the time of the initial decree,
would have persuaded the court to decree differently. 7 We have
also explained that if a change in custody is to be made, it
should appear to the court that the material change in circum-
stances is more or less permanent or continuous and not merely
transitory or temporary. 8
   [7] We begin by noting, as did the Court of Appeals, that
the district court made express factual findings concerning
changes in Mary’s employment and housing since the 2011
custody modification, but its order made no express find-
ing that those changes were material and affected Kasey’s
best interests. The absence of this express finding is not
dispositive, however, because we have recognized that even
when a finding of a material change in circumstances is not
expressly made by the trial court, an appellate court, in its de
5
    Id.6
    Id.7
    VanSkiver, supra note 2; State on behalf of Jakai C. v. Tiffany M., 292 Neb.
    68, 871 N.W.2d 230 (2015); Schrag v. Spear, 290 Neb. 98, 858 N.W.2d
    865 (2015); Heistand v. Heistand, 267 Neb. 300, 673 N.W.2d 541 (2004);
    Swenson v. Swenson, 254 Neb. 242, 575 N.W.2d 612 (1998).
8
    Hoschar v. Hoschar, 220 Neb. 913, 374 N.W.2d 64 (1985), disapproved on
    other grounds, Parker v. Parker, 234 Neb. 167, 449 N.W.2d 553 (1989).
                                    - 628 -
             Nebraska Supreme Court Advance Sheets
                      305 Nebraska Reports
                               JONES v. JONES
                              Cite as 305 Neb. 615
novo review, may make such a finding if the evidence sup-
ports it. 9
   Having reviewed the record de novo, we find ample evi-
dence that Mary’s continuous unemployment and housing
instability combined to present a material change in cir-
cumstances after the 2011 modification that affected Kasey’s
best interests.
                 (i) Continuous Unemployment
   The Court of Appeals concluded that Mary’s unemploy-
ment after the 2011 modification did not amount to a mate-
rial change in circumstances, reasoning that she experienced
periods of unemployment before the 2011 modification too. It
is true that Mary experienced periods of unemployment before
2011, but the evidence generally showed those periods were
sporadic and included several years when Mary intentionally
left the workforce to further her education. When the stipulated
modification was entered in 2011, Mary had completed her
degree in paralegal studies and was gainfully employed as a
paralegal. She changed employers several times thereafter, but
generally held a steady job in the legal field until 2014, when
her employment situation changed significantly.
   [8] From 2014 until shortly before trial in 2017, Mary
was almost continuously unemployed and her only source of
income was child support. This lengthy period of unemploy-
ment differed from the past, in that Mary was not unemployed
because she was changing jobs or furthering her education.
Mary did start working shortly before trial in this case, but
the jobs were part time and temporary and did not suggest a
commitment to returning to stable employment. And as a gen-
eral rule, when determining whether the custody of a minor
child should be changed, the evidence of the custodial parent’s
behavior during the year or so before the hearing on the com-
plaint to modify is considered most significant. 10
 9
     Parker, supra note 8.
10
     See Heistand, supra note 7.
                                        - 629 -
             Nebraska Supreme Court Advance Sheets
                      305 Nebraska Reports
                                   JONES v. JONES
                                  Cite as 305 Neb. 615
   Despite Mary’s history of sporadic and temporary unem-
ployment before the custody modification in 2011, we agree
with the district court that the continuous unemployment she
experienced after 2014 amounted to a material change in cir-
cumstances. And it was a change in circumstances that nega-
tively impacted her ability to provide safe and stable housing
for Kasey, a concern we discuss next.
                           (ii) Housing
   The Court of Appeals expressed concern over Mary’s hous-
ing instability and the questionable character of some of the
individuals with whom she resided after the 2011 modifica-
tion. But it ultimately concluded this evidence did not support
a material change in circumstances, reasoning there was no
evidence that the frequent moves or the presence of ques-
tionable individuals in the home “had any actual negative
impact on Kasey.” 11 Our de novo review leads us to a differ-
ent conclusion.
   We find it significant that at the time of the stipulated cus-
tody modification in 2011, Mary lived in her own residence
and appeared to be providing a safe and stable living envi-
ronment for Kasey. Someone from the Nebraska Department
of Health and Human Services was living with her around
the clock to make sure she “stayed on the straight and nar-
row,” and there was no evidence of crime or violence in the
home. Since that time, Mary’s housing situation has changed
significantly.
   She has been evicted twice for nonpayment of rent. Her
chronic unemployment left her unable to afford safe and stable
housing, and she became dependent on the generosity of fam-
ily and friends for a place to live. Mary moved residences four
times in 2015 alone, and since 2011, she has lived with approx-
imately 13 different people. Mary admits some of the people
with whom she lived were not a good influence on Kasey, and
the evidence bears that out.
11
     Jones, supra note 1 at *7.
                                    - 630 -
             Nebraska Supreme Court Advance Sheets
                      305 Nebraska Reports
                               JONES v. JONES
                              Cite as 305 Neb. 615
   For several years after the 2011 custody modification, Mary
lived with a man who used illegal substances and who was
verbally, mentally, and physically abusive to her. And from
2015 until a few months before trial in 2017, Mary lived with
her adult son, who had a violent temper, was an alcoholic, used
illegal drugs, and allowed his friends to live with them for
weeks at a time. At the time of trial, Mary was living with her
adult daughter, and while the environment in that home was
considerably safer than Mary’s prior residence, she admitted
the arrangement was temporary. Mary was hopeful her cir-
cumstances would improve in the future, but she described no
concrete plans for more permanent housing.
   Mary’s post-2011 living conditions were unstable and regu-
larly exposed Kasey to living alongside people who were
verbally and physically abusive to Mary, used illegal drugs,
engaged in criminal activity, and had violent tempers. Mary did
not believe that Kasey was affected by living in this environ-
ment, because he was still doing well in school, had positive
relationships with his parents and peers, and regularly attended
church with her. But we have rejected the suggestion that a
parent must show that actual harm has befallen a child in order
to establish that a modification of custody due to a material
change in circumstances would be in the child’s best inter-
ests. 12 And there is little doubt that if this unsafe and unstable
living environment had existed and been brought to the atten-
tion of the court at the time of the 2011 custody modification,
it would have persuaded the court to decree differently.
   On this record, we find that Curtis met his burden of prov-
ing that Mary’s continuous unemployment and chronic housing
instability after the 2011 modification was a material change
in circumstances that affected Kasey’s best interests. We next
consider whether the modified custody arrangement ordered by
the district court was in Kasey’s best interests. 13
12
     See Schrag, supra note 7.
13
     See Hopkins, supra note 4.
                                     - 631 -
             Nebraska Supreme Court Advance Sheets
                      305 Nebraska Reports
                                JONES v. JONES
                               Cite as 305 Neb. 615
                    (b) Best Interests of Child
   [9] When determining the best interests of the child in the
context of custody, a court must consider, at a minimum, (1)
the relationship of the minor child to each parent prior to the
commencement of the action; (2) the desires and wishes of a
sufficiently mature child, if based on sound reasoning; (3) the
general health, welfare, and social behavior of the child; (4)
credible evidence of abuse inflicted on any family or household
member; and (5) credible evidence of child abuse or neglect
or domestic intimate partner abuse. 14 Other relevant consider-
ations include stability in the child’s routine, minimalization
of contact and conflict between the parents, and the general
nature and health of the individual child. 15 No single factor is
determinative, and different factors may weigh more heavily
in the court’s analysis, depending on the evidence presented in
each case. The one constant is that the child’s best interests are
always the standard by which any custody or parenting time
determination is made. 16
   Here, the district court found it was in Kasey’s best interests
for Curtis to have primary physical custody, subject to Mary’s
liberal parenting time on a 10/4 schedule during the school
year and a week-on-week-off schedule during summer break.
After our de novo review, we cannot find this was an abuse
of discretion.
   Since the 2011 modification, Curtis has had stable employ-
ment and a consistently safe and stable living environment
for raising children; Mary has not. The district court left joint
legal custody in place with additional provisions for resolving
disputes, but placed primary physical custody with Curtis. It
also changed the parenting time schedule to reduce the number
of overnights with Mary during the school year, while still
14
     Jeffery T., supra note 3. See, also, Neb. Rev. Stat. § 43-2923(6) (Reissue
     2016).
15
     See Jeffery T., supra note 3.
16
     See id.                              - 632 -
         Nebraska Supreme Court Advance Sheets
                  305 Nebraska Reports
                         JONES v. JONES
                        Cite as 305 Neb. 615
affording liberal parenting time and allowing Kasey to spend
equal time with both his parents over the summer months.
We agree such a custody and parenting time arrangement is in
Kasey’s best interests.
                          (c) Disposition
   We thus reverse the Court of Appeals’ finding that Curtis
did not prove a material change in circumstances justifying
modification of physical custody, and we remand the cause
with directions to affirm the district court’s modification of
physical custody. We also direct the Court of Appeals to affirm
the modified parenting plan approved by the district court, with
two caveats.
   First, for the sake of clarity, we direct the parenting plan be
corrected to reflect that the parties maintain joint legal custody
of Kasey, but that in the event they reach impasse and are
unable to make a joint decision, Curtis shall have final say.
Second, because we agree with the Court of Appeals that the
record in this case does not support the need for a safety plan,
we direct the safety plan provisions be stricken from the par-
enting plan.
                   2. Child Support Order
   The district court terminated Curtis’ monthly child support
obligation and ordered Mary to pay nominal child support
of $10 per month. No party takes issue with the amount of
support ordered, but when the case was before the Court of
Appeals, Mary assigned that it was error not to attach a child
support worksheet to the order of modification showing how
the support was calculated. Given the Court of Appeals’ dis-
position, it did not reach this assignment of error. We exercise
our discretion to consider it now, rather than directing consid-
eration on remand.
   [10,11] Neb. Ct. R. § 4-203(E) (rev. 2020) of the child sup-
port guidelines provides that “[a]ll orders for child support,
including modifications, must include a basic income and sup-
port calculation worksheet 1, and if used, worksheet 2 or 3.”
                                    - 633 -
             Nebraska Supreme Court Advance Sheets
                      305 Nebraska Reports
                               JONES v. JONES
                              Cite as 305 Neb. 615
We have been clear that “[a]ll orders concerning child support,
including modifications, should include the appropriate child
support worksheets.” 17 The appellate courts have repeatedly
emphasized the importance of adhering to this requirement, 18
explaining that attaching the worksheet allows the trial court to
show the parties, and the appellate courts, that it has “‘done the
math’” required by the child support guidelines. 19
   [12] In this case, the court ordered nominal support pursuant
to the earlier version of Neb. Ct. R. § 4-209 (rev. 2020) of the
child support guidelines, which provides that “[e]ven in very
low income cases, except in cases of disability or incarceration
where a lower amount may be justified, a minimum monthly
support of $50, or 10 percent of the obligor’s net income,
whichever is greater, per month should be set.” The purpose
of setting nominal support is to maintain information on the
obligor in the child support system and, “hopefully, encourage
such person to understand the necessity, duty, and importance
of supporting his or her children.” 20
   We have not previously addressed whether a child support
worksheet is required even when ordering nominal support
under § 4-209, but we see no principled reason to depart from
the settled rule, even in very low income cases. Admittedly,
when nominal support is ordered in the recommended amount
of $50, there is very little math to show. But in this case, it is
not clear whether the $10 support figure was calculated based
on a finding regarding Mary’s net income or whether the court
concluded that an amount lower than the recommended mini-
mum was justified in this case. And of course, whenever there
is a deviation from the child support guidelines, either the
17
     Rutherford v. Rutherford, 277 Neb. 301, 305, 761 N.W.2d 922, 926 (2009).
18
     Id.19
     See Stewart v. Stewart, 9 Neb. App. 431, 434, 613 N.W.2d 486, 489
     (2000). See, also, Fetherkile v. Fetherkile, 299 Neb. 76, 907 N.W.2d 275     (2018); Molina v. Salgado-Bustamante, 21 Neb. App. 75, 837 N.W.2d 553     (2013).
20
     § 4-209.
                                 - 634 -
                Nebraska Supreme Court Advance Sheets
                         305 Nebraska Reports
                            JONES v. JONES
                           Cite as 305 Neb. 615
reason for the deviation must “be contained in the findings por-
tion of the decree or order, or worksheet 5 should be completed
by the court and filed in the court file.” 21
   [13] Because the absence of a child support worksheet
requires the parties and appellate courts to speculate about the
trial court’s conclusions and calculations in awarding support,
we hold that even in very low income cases, courts awarding
nominal support under § 4-209 should attach a child support
worksheet. And the reason for any deviation from the mini-
mum support amounts required by § 4-209 should be contained
either in the court’s decree or order or on worksheet 5.
   On remand, we direct the Court of Appeals to remand the
matter to the district court with directions to prepare and
attach an appropriate child support worksheet to the order of
modification.
                       V. CONCLUSION
   For the foregoing reasons, we reverse the Court of Appeals’
decision in part and remand the cause with directions to affirm
the district court’s modification of physical custody, child
support, and the parenting plan, subject to the caveats set out
above. In all other respects, we affirm.
                   Affirmed in part, and in part reversed
                   and remanded with directions.
21
     § 4-203.
